Case 9:18-cv-81104-BB Document 95 Entered on FLSD Docket 03/28/2019 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-CV-81104-BB (BLOOM)

  GREENWAY NUTRIENTS, INC., a
  Colorado corporation,

                  Plaintiff,

           v.

  DAVID SELAKOVIC, an individual;
  STEVEN BLACKBURN, an
  individual; FULFILLMENT
  SOLUTIONS SERVICES, INC., a
  Florida corporation; NEW EPIC
  MEDIA, LLC, a Florida limited               GREENWAY NUTRIENTS, INC.’S
  liability company; VEGALAB S.A., a          NOTICE OF JOINT LIABILITY
  Swiss company; VEGALAB LLC, a               AS TO DEFENDANTS ECOWIN
  Delaware limited liability company;         CO., LTD., THE RYAN LAW
  VEGALAB INC., F/K/A HPC                     GROUP, PLLC, JAMES D. RYAN,
  ACQUISITIONS, INC., a Nevada                AND MICHAEL J. RYAN
  corporation; THE RYAN LAW
  GROUP, LLC, a Florida limited
  liability company; JAMES D. RYAN,
  an individual; MICHAEL J. RYAN,
  an individual; SUPREME
  GROWERS LLC, a Tennessee
  limited liability company; ECOWIN
  CO., LTD., a South Korean company;
  and DOE ENTITIES 1-10, inclusive,

                  Defendants.



        Pursuant to the Court’s Order on Default Judgment Procedure and on Motion to Stay [DE

 92], Plaintiff Greenway Nutrients, Inc. (“Greenway”) respectfully submits this Notice of Joint

 Liability as to defaulted Defendant Ecowin Co., Ltd. (“Ecowin”), and Defendants The Ryan Law

 Group, PLLC, James D. Ryan, and Michael J. Ryan (the “Ryan Defendants”), and in support states

 as follows:
Case 9:18-cv-81104-BB Document 95 Entered on FLSD Docket 03/28/2019 Page 2 of 4



        1.      On August 17, 2018, Greenway filed the Complaint in this matter. (DE 1)

 (“Compl.”).

        2.      Ecowin was served with the Summons and Complaint on November 7, 2018. (DE

 68)

        3.      Ecowin has neither answered nor otherwise responded to Plaintiff’s Summons and

 Complaint, and, per the Court’s February 15, 2019 Order, the time to do so has expired.

        4.      On March 6, 2019, the Clerk entered a default as to Ecowin pursuant to Fed. R.

 Civ. P. 55(a). (DE 91)

        5.      The Ryan Defendants have appeared in this matter and answered the Complaint.

 (DE 85)

        6.      Greenway alleges that Ecowin breached its contract with Greenway and breached

 the implied covenant of good faith and fair dealing in so doing. (Compl. ¶¶ 116-29)

        7.      Greenway alleges that the Ryan Defendants disclosed confidential information

 relating to Ecowin to others in breach of their fiduciary duties to Greenway and tortiously

 interfered with Greenway’s contract and prospective business relations with Ecowin. (Compl. ¶¶

 105-15, 130-60)

        8.      The Ryan Defendants have indicated that they anticipate contesting that a contract

 was formed between Greenway and Ecowin. Accordingly, although Greenway maintains that it

 indeed had a binding contract with Ecowin, there is the possibility of inconsistent liability between

 Ecowin and the Ryan Defendants.

        9.      As there is a possibility of inconsistent liability, the Ryan Defendants’ liability must

 be resolved before Greenway can move for entry of default final judgment against Ecowin.




                                                   2
Case 9:18-cv-81104-BB Document 95 Entered on FLSD Docket 03/28/2019 Page 3 of 4



 Dated: March 28, 2019                              Respectfully submitted,


                                                    /s/ Ronald S. Nisonson
                                                    Ronald S. Nisonson, Esq.
                                                    Florida Bar No. 79405
                                                    rnisonson@warddamon.com
                                                    Ward Damon Posner Pheterson & Bleau
                                                    4420 Beacon Circle
                                                    West Palm Beach, Florida 33407-3281
                                                    Telephone:     (561) 842-3000
                                                    Facsimile:     (561) 842-3626




 John M. Pierce, Esq.                               Jonathan A. Sorkowitz, Esq.
 (pro hac vice)                                     (pro hac vice)
 jpierce@piercebainbridge.com                       jsorkowitz@piercebainbridge.com
 600 Wilshire Boulevard, Suite 500                  20 West 23rd Street, Fifth Floor
 Los Angeles, California 90017                      New York, New York 10010
 Telephone:     (213) 262-9333                      Telephone: (213) 262-9333
 Pierce Bainbridge Beck                             Pierce Bainbridge Beck
 Price & Hecht LLP                                  Price & Hecht LLP

                         Attorneys for Plaintiff Greenway Nutrients, Inc.




                                                3
Case 9:18-cv-81104-BB Document 95 Entered on FLSD Docket 03/28/2019 Page 4 of 4



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 28, 2019, a true copy of the foregoing was filed with

 the Clerk of Court using the CM/ECF system which will send a notice of electronic filing to all

 counsel or parties of record on the Service List below.

                                                      /s/ Ronald S. Nisonson
                                                      Ronald S. Nisonson, Esq.
 SERVICE LIST
 James D. Ryan, Esq.
 Florida Bar No. 976751
 jdr@ryanlawgroup.net
 sue@ryanlawgroup.net
 Ryan Law Group, PLLC
 636 US Highway One, Suite 110
 North Palm Beach, Florida 33408
 Telephone:     (561) 881-4447
 Facsimile:     (561) 881-4461
 Attorney for Defendants Vegalab, LLC,
 Vegalab Inc., Ryan Law Group, PLLC,
 Michael J. Ryan, and James D. Ryan




                                                 4
